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                        IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE: Jessica Nunez                             CHAPTER 13
         Debtor.
                                                  BANKRUPTCY CASE NUMBER
 Nationstar Mortgage LLC as servicer for Wells    17-13085/ELF
 Fargo Bank, National Association, as trustee for
 the Certificateholders of the CWMBS, Inc.,       11 U.S.C. § 362
 Reperforming Loan REMIC Trust Certificates,
 Series 2002-2                                    July 31, 2018 at 9:30 am
         Movant,
 v.                                               Courtroom # 1
 Jessica Nunez
         Debtor,

 William C. Miller, Trustee,
        Additional Respondent.

   MOTION OF NATIONSTAR MORTGAGE LLC AS SERVICER FOR WELLS FARGO
  BANK, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE CERTIFICATEHOLDERS
   OF THE CWMBS, INC., REPERFORMING LOAN REMIC TRUST CERTIFICATES,
 SERIES 2002-2 FOR RELIEF, FROM THE AUTOMATIC STAY UNDER SECTION 362 (d)

        Secured Creditor, Nationstar Mortgage LLC as servicer for Wells Fargo Bank, National

Association, as trustee for the Certificateholders of the CWMBS, Inc., Reperforming Loan REMIC

Trust Certificates, Series 2002-2 ("Movant"), by and through its undersigned counsel, pursuant to 11

U.S.C. § 362, hereby seeks relief from the automatic stay to exercise and enforce its rights, without

limitation, with respect to certain real property. In support of this motion, Movant avers as follows:

        1.      Debtor named above filed a Voluntary Petition under Chapter 13 of the United States
                Bankruptcy Code in the Eastern District of Pennsylvania under the above case
                number.

        2.      Nationstar Mortgage LLC is the servicer of the loan and files this Motion on behalf of
                Wells Fargo Bank, National Association, as trustee for the Certificateholders of the
                CWMBS, Inc., Reperforming Loan REMIC Trust Certificates, Series 2002-2
                (hereafter jointly referred to as “Movant”) against Debtor secured only by a first
                mortgage lien on real estate which is the principal residence of Debtor located at 3260
                Frankford Avenue, Philadelphia, PA 19134 (the "Mortgaged Premises").

        3.      Nationstar Mortgage LLC services the loan on the property referenced in this motion
                for relief. In the event the automatic stay in this case is modified, this case dismisses
                and/or the debtor obtains a discharge and a foreclosure action is commenced on the
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                mortgaged property, the foreclosure will be conducted in the name of Wells Fargo
                Bank, National Association, as trustee for the Certificateholders of the CWMBS, Inc.,
                Reperforming Loan REMIC Trust Certificates, Series 2002-2.

      4.        Nationstar Mortgage LLC, directly or through an agent, has possession of the
                promissory note. The promissory note is either made payable to Noteholder or has
                been duly indorsed in blank. Noteholder is the original mortgagee, or beneficiary, or
                the assignee of the security instrument for the referenced loan.

      5.        Additional Respondent is the Standing Trustee appointed in this Chapter 13 proceeding.

      6.        The filing of the Petition operated as an automatic stay under Section 362(a) of the
                Bankruptcy Code of proceedings to foreclose on the mortgage held by Movant on the
                Mortgaged Premises.

      7.        Debtor has claimed an exemption in the amount of $10,630.00 in the subject
                property.

      8.        There is a secured lien on the property. The holder of the secured lien is Water
                Revenue Bureau in the amount of approximately $1,752.28.

      9.        Debtor has failed to make post-petition monthly mortgage payments.

      10.       The defaults include the following monthly payments and charges:

      a)        Payments of $337.42 from May 1, 2018 through July 1, 2018 which totals $1,012.26;

      b)        Less Suspense of ($330.04)

      c)        The total amount due (10(a) through 10(b) combined) is $682.22

      11.       The Fair Market Value of the Property is $45,900.00, as per Debtor’s Schedules. The
                approximate amount necessary to pay off the loan is $42,769.18 good through June
                24, 2018. The breakdown of the payoff is as follows:

            Principal Balance                                                                $34,681.93
            Accrued Interest                                                                  $1,791.84
            Escrow Advances made by Plaintiff                                                 $2,039.27
            Corporate Advance                                                                 $4,861.98
            Suspense Balance                                                                  ($605.84)

      12.       Movant's interests are being immediately and irreparably harmed. Movant is entitled to
                relief, from the automatic stay, pursuant to either 11 U.S.C. § 362 (d)(1) or (d)(2),
                because of the foregoing default and because:

      13.       Movant, as a holder of the first mortgage lien securing a debt owed by Debtor, lacks
                adequate protection for its interests in the Mortgaged Premises;
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        14.     Debtor has little, if any, equity in the Mortgaged Premises; and

        15.     The Mortgaged Premises are not necessary to an effective reorganization or plan.

        16.     Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
                immediately implement and enforce the Court's order.

        17.     Attached are redacted copies of any documents that support the claim, such as
                promissory notes, purchase order, invoices, itemized statements of running accounts,
                contracts, judgments, mortgages, and security agreements in support of right to seek a
                lift of the automatic stay and foreclose if necessary.

        WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant relief
from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights with respect to
the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the preparation and
presentation of this motion, and (iii) granting all such other and further relief as the Court deems
appropriate and necessary. A proposed order to such effect is submitted herewith.

                                                         Respectfully submitted,



Dated: July 5, 2018                                      BY:/s/ Kevin S. Frankel
                                                         Kevin S. Frankel, Esquire
                                                         Shapiro & DeNardo, LLC
                                                         3600 Horizon Drive, Suite 150
                                                         King of Prussia, PA 19406
                                                         (610)278-6800/ fax (847) 954-4809
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                                                         pabk@logs.com
